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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JOHN DOE 1 and JANE DOE 1,                  :
in their own Capacity and                   :
as parents of CHILD DOE 1, et al.,          :
                      Plaintiffs,           :
                                            :
                    v.                      :             Civil No. 5:22-cv-00699-JMG
                                            :
BOYERTOWN AREA SCHOOL DISTRICT              :
a Pennsylvania Governmental entity, et al., :
                    Defendants.             :
__________________________________________


                            NOTICE OF STATUS CONFERENCE

       TAKE NOTICE, that a Telephone Status Conference, in the above case has been set as

follows:

       Lead counsel shall appear VIA TELEPHONE for a Status Conference in the above-

captioned matter on Monday, February 28, 2022 at 11:30 AM, by calling into the United States

District Court located at 504 West Hamilton Street, Suite 4701, Allentown, Pennsylvania.

                                                   For the Court,


                                                   /s/ Brian R. Dixon
                                                   Brian R. Dixon
                                                   Deputy Clerk for Judge John M. Gallagher


Date of Notice: February 25, 2022
